             Case 1:25-bk-10270                   Doc 58 Filed 07/04/25 Entered 07/05/25 00:18:27                                               Desc
                                                Imaged Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                                 District of Rhode Island
In re:                                                                                                                 Case No. 25-10270-DF
Tallulah's Taqueria, LLC                                                                                               Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0103-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jul 02, 2025                                               Form ID: 500                                                              Total Noticed: 42
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 04, 2025:
Recip ID                   Recipient Name and Address
db                    #+   Tallulah's Taqueria, LLC, 146 Ives Street, Providence, RI 02906-3829
aty                    +   Thomas P. Quinn, McLaughlin & Quinn, 148 West River Street, Suite 1E, Providence, RI 02904-2615
944671158              +   Baldor Specialty Inc, 155 Food Center Drive, Bronx NY 10474-7136
944671164              +   CJ&J Trailer Leasing, dba Pilotte's Refrigeration, 34 Sears Road, Swansea MA 02777-4517
944671160                  Chef's Warehouse, 249 Food Ctr Drive, Bronx NY 10474
944675277                  Christopher P. Rhodes, Esq., Harrington & Rhodes, Ltd., 270 South County Trail, East Greenwich, RI 02818
944671163              +   Citrin Cooperman, 500 Exchange Street, Ste 9-100, Providence RI 02903-2635
944671166              +   Daniel E. Burgoyne, Esq., Partridge Snow & Hahn LLP, 40 Westminster Str, Ste 110, Providence RI 02903-2527
944672703                  Easy Ice, LLC, PO Box 650769, Dallas, TX 75265-0769
944671167              +   Ecolab Inc., PO Box 32027, New York NY 10087-2027
944671168              +   Farm Fresh Rhode Island, LLC, 10 Sims Avenue, Providence RI 02909-1165
944671169              +   Financial Agent Services, P.O. Box 2576, Springfield IL 62708-2576
944671170              +   Heller Properties LLC, Attn: Claude Goldstein, 111 Fifth Street, Providence RI 02906-2801
944671171              +   Jacob Rojas, 12 Valley Street, Jamestown RI 02835-1423
944671172              +   Kelly Ann Rojas, 32 Deck Street, Jamestown RI 02835-2625
944671173              +   Krost CPA's, 225 S. Lake Ave., Ste 400, Pasadena CA 91101-3010
944672528              +   Krost CPA's / Eisner Amper, 225 S. Lake Ave, Suite 400, Pasadena, CA 91101-3010
944671174              +   Liberty Cleaning Inc., 25 Stone Drive, Cranston RI 02920-1321
944671176              +   New England Certified Dev Corp, 500 Edgewater Drive, Ste 555, Wakefield MA 01880-6232
944671177              +   North Meadow Properties, LLC, 109 Carr Lane, Jamestown RI 02835-1703
944671181              +   Richard F. Hentz, Esq., McGunagle Hentz, PC, 2088 Broad Street, Providence RI 02905-3342
944671182              +   T.F. Kinnealey & Company, 1100 Pearl Street, Brockton MA 02301-5410
944671185              +   U.S. Small Business Admin, 380 Westminster St., Rm. 511, Providence RI 02903-3239

TOTAL: 23

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                        Jul 02 2025 18:24:04      Ally Bank c/o AIS Portfolio Services, LLC, 4515
                                                                                                                  N Santa Fe Ave. Dept. APS, Oklahoma City, OK
                                                                                                                  73118-7901
intp                       Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Jul 02 2025 18:13:00      Internal Revenue Service, Insolvency Unit 4th
                                                                                                                  Floor, 380 Westminster Street, Providence, RI
                                                                                                                  02903
intp                   ^ MEBN
                                                                                        Jul 02 2025 18:10:10      RI Division of Taxation, Bankruptcy Unit, co
                                                                                                                  Richard P. Smith, Chief - Collection Section, One
                                                                                                                  Capitol Hill, Providence, RI 02908-5816
intp                   ^ MEBN
                                                                                        Jul 02 2025 18:10:13      State of RI - Labor and Training, Legal
                                                                                                                  Department, Bldg 72 3rd Floor, 1511 Pontiac
                                                                                                                  Avenue, Cranston, RI 02920-4407
             Case 1:25-bk-10270                 Doc 58 Filed 07/04/25 Entered 07/05/25 00:18:27                                         Desc
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944671156                Email/Text: ally@ebn.phinsolutions.com
                                                                                   Jul 02 2025 18:12:00     Ally Auto, PO Box 380902, Minneapolis MN
                                                                                                            55438-0902
944677237             + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                   Jul 02 2025 18:24:00     Ally Bank, 4515 N. Santa Fe Ave. Dept. APS,
                                                                                                            Oklahoma City, OK 73118-7901
944671157                Email/PDF: bncnotices@becket-lee.com
                                                                                   Jul 02 2025 18:24:04     American Express, PO Box 1270, Newark NJ
                                                                                                            07101-1270
944674049                Email/PDF: bncnotices@becket-lee.com
                                                                                   Jul 02 2025 18:23:56     American Express National Bank, c/o Becket and
                                                                                                            Lee LLP, PO Box 3001, Malvern PA 19355-0701
944671159                Email/Text: caineweiner@ebn.phinsolutions.com
                                                                                   Jul 02 2025 18:13:56     Caine & Weiner, P.O. Box 55848, Sherman Oaks
                                                                                                            CA 91413
944671162                Email/Text: stephen.malkiewicz@cintas.com
                                                                                   Jul 02 2025 18:13:00     Cintas, P.O. Box 631025, Cincinnati OH
                                                                                                            45263-1025
944671165             + Email/Text: CSCBNC@cscglobal.com
                                                                                   Jul 02 2025 18:13:00     Corporation Service Company, 801 Adlai
                                                                                                            Stevenson Drive, Springfield IL 62703-4261
944672704             + Email/Text: getpaid@mobilemini.com
                                                                                   Jul 02 2025 18:12:00     Mobile Mini, Inc., 4646 E. Van Buren Street, Suite
                                                                                                            400, Phoenix, AZ 85008-6927
944671175                Email/Text: BankruptcyMEBN@navigantcu.org
                                                                                   Jul 02 2025 18:13:00     Navigant Credit Union, 1005 Douglas Pike,
                                                                                                            Smithfield RI 02917
944673541             + Email/Text: bankruptcy@ondeck.com
                                                                                   Jul 02 2025 18:13:00     ODK Capital LLC, 4700 W Daybreak Pkwy., Ste
                                                                                                            200, South Jordan, UT 84009-5133
944671178                Email/Text: bankruptcy@ondeck.com
                                                                                   Jul 02 2025 18:13:00     On Deck Capital, 901 N Stuart St Ste 700,
                                                                                                            Arlington VA 22203-4129
944671179             ^ MEBN
                                                                                   Jul 02 2025 18:10:13     RI Dept of Labor and Training, Employer Tax
                                                                                                            Unit, 1511 Pontiac Avenue, Cranston RI
                                                                                                            02920-4407
944671180             ^ MEBN
                                                                                   Jul 02 2025 18:10:10     RI Division of Taxation, Attn: Bankruptcy Unit,
                                                                                                            One Capitol Hill, Providence RI 02908-5801
944671183             + Email/Text: legal@tuckeralbin.com
                                                                                   Jul 02 2025 18:13:00     Tucker, Albin & Associates Inc, 1702 N. Collins
                                                                                                            Blvd., #100, Richardson TX 75080-3662
944671184             + Email/Text: BhamBankruptcy@sba.gov
                                                                                   Jul 02 2025 18:12:00     U.S. Small Buisness Admin, 2 North 20th Street,
                                                                                                            Ste 320, Birmingham AL 35203-4002

TOTAL: 19


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr              *P++          NAVIGANT CREDIT UNION, 1005 DOUGLAS PIKE, SMITHFIELD RI 02917-1206, address filed with court:, Navigant
                              Credit Union, 1005 Douglas Pike, Smithfield, RI 02917

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
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Date: Jul 04, 2025                                        Signature:            /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 2, 2025 at the address(es) listed below:
Name                             Email Address
Daniel E. Burgoyne
                                 on behalf of Creditor Farm Fresh Rhode Island dburgoyne@psh.com kfrancois@psh.com

Joseph M. DiOrio
                                 on behalf of Trustee Joseph M. DiOrio jdiorio@pldolaw.com
                                 jdiorio@pldolaw.com;aperry@pldolaw.com;RI02@ecfcbis.com;aperry@pldolaw.com;pmacnie@pldolaw.com;kstamp@pldolaw.
                                 com;agruttadauria@pldolaw.com;mbond@pldolaw.com

Joseph M. DiOrio
                                 jdiorio@pldolaw.com
                                 jdiorio@pldolaw.com;aperry@pldolaw.com;RI02@ecfcbis.com;aperry@pldolaw.com;pmacnie@pldolaw.com;kstamp@pldolaw.
                                 com;agruttadauria@pldolaw.com;mbond@pldolaw.com

Matthew J. McGowan
                                 on behalf of Creditor Navigant Credit Union Mmcgowan@sklawri.com kgerman@sklawri.com

Sandra Nicholls
                                 ustpregion01.pr.ecf@usdoj.gov

Sandra Nicholls
                                 on behalf of Assistant U.S. Trustee Sandra Nicholls sandra.nicholls@usdoj.gov

Thomas P. Quinn
                                 on behalf of Debtor Tallulah's Taqueria LLC tquinn@mclaughlinquinn.com, mwoodside@mclaughlinquinn.com


TOTAL: 7
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                                                 UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF RHODE ISLAND


______________________________________________________________________________________________________________________
             In Re: Tallulah's Taqueria, LLC                   BK No. 1:25−bk−10270
             Debtor(s)                                         Chapter 11

_____________________________________________________________________________________________________________________

                                                      NOTICE OF COURT HEARING



            Please be advised that a hearing will be held on 7/23/25 at 10:00 AM at: U.S. Bankruptcy Court, 380 Westminster
            Street, Providence, RI 02903 to consider and act upon the following:

            RE: [55] Motion to Dismiss or Convert to Chapter 7 filed by Assistant U.S. Trustee Sandra Nicholls
            [56] Objection filed by Trustee Joseph M. DiOrio

            Please consult local rule 5072−1 for appropriate courtroom decorum for all hearings.

            If a party wishes to use courtroom technology to present evidence, please contact
            the courtroom deputy at (401) 626−3136 in advance of the hearing to arrange for
            training.




                                                                 Date: 7/2/25
            Entered on Docket: 7/2/25
            Document Number: 57 − 55, 56
            500.jsp




            ______________________________________________________________________________________________

                      The Federal Center · 380 Westminster Street, 6th Floor · Providence, RI 02903 · Tel: (401) 626−3100

                                                        Website: www.rib.uscourts.gov
